 __________________________________________


Case 2:14-cv-01725-MEF-LDW Document 57 Filed 06/30/14 Page 1 of 2 PageID: 2501




 Co e c otz
 COLE, SCHOT!, ME5EL FORMAN & LEONARD PA.
                                                                                        Court Plozo Nørth


                                                                                     Hockensock, NJ 07602-0800
                                                                                 201-489-3000 201-489-1536 fox

  Michael 0. Slroto                                                                         New York
  Member
  Adsmfled r NJ and NY
                                                                                            Delaware
  Reply    New Jersey Office
  WrIter’s DIrect Lrse 201-525-6262                                                         Moryland
  Wr-ii,’ Deed ox 201-67S-6262
  Writers E-Mok msirc,ta’ttk&esthotzcorri
                                                                                             Texas


                                                   June27,2014

  Via ECF and Facsimile (973)645-3841

  Honorable Claire C. Cecchi, U.S.D.J.
  United States District Court
  for the District of New Jersey
  Martin Luther King Jr. Federal Building
  50 Walnut Street
  Newark, New Jersey 07102

              Re:          National Labor Relations Board and New England Health Care
                           Employees Union, District 1199. SEIU v. 710 Long Ridge Road
                           Operating Company II, LLC, eta!., Consolidated Civ. Action No.
                           14-CV-01725 (CCC)

                           On Appeal from Orders of the United States Bankruptcy Court Entered by the
                           Honorable Donald H. Steckroth, Case No. 13-13653 (DHS)

 Dear Judge Cecehi:

        This firm represents the appellees, 710 Long Ridge Road Operating Company II,
 LLC d/b/a Long Ridge of Stamford, 240 Church Street Operating Company II, LLC d/b/a
 Newington Health Care Center. 1 Burr Road Operating Company II, LLC d/b/a Westport
 Health Care Center, 245 Orange Avenue Operating Company II, LLC d/b/a West River
 Health Care Center and 107 Osborne Street Operating Company II, LLC d/b/a Danbur
 Health Care Center (the “Appellees”). in the above-referenced matter.

         On June 30,2014, the Appellees intend to file a reply brief (the “Reply”) in response
 to the objections FDocket Nos. 49 and 50] filed by the National Labor Relations Board (the
 “NLRB”) and the New England Health Care Employees Union, District 1199, SEJU (the
 “Union,” and together with the NLRB shall be referred to herein collectively as, the
 “Appellants”) to the Appellees’ motion to dismiss [Docket No. 191 the above-captioned
 appeals filed by the Appellants of seven (7) orders entered by the United States Bankruptcy
 Court for the District ofNew Jersey as equitably moot.




 5I689OOCr1-1 0
              49167v1
              7
Case 2:14-cv-01725-MEF-LDW Document 57 Filed 06/30/14 Page 2 of 2 PageID: 2502




 Cole, Schotz, Meisel, Formon & Leonard, P.A.
                 Attorneys at law
 Honorable Claire C. Cecchi, U.S.D.J.
 June27,2014
 Page 2

       PursuanttoL. Civ. R. 72(b), the Reply submitted underL. Civ. R. 7.1(d)(3)mustbe
 15 pages in length, excluding pages required for the table of contents and authorities.
 Pursuant to L. Civ. R. 7.2(b), briefs of greater length will only be accepted if special
 permission ofthe Judge or Magistrate Judge is obtained prior to submission of the brief.

        Given that the Appellees are responding to two opposition briefs, the Appellees
 respectfully request permission from this Court to file an 18-page oversized Reply.



                                                 Respectfully submitted,

                                                 /s/ Michael. Sirota

                                                 Michael D. Sirota

 MDS:rtj
                                                       SO ORDERED
 cc:      David Bass, Esq. (via email)
          Ryan Jareck, Esq. (via email)                     s/Claire c. cecchi
          Gerald Gline, Esq. (via email)                         Cecchi, U.8.DJ.
          Suzanne Hepner, Esq. (via email)
          Susan Cameron, Esq (via email)                Date    -       / ‘; / /!   j
                                                                    /
          Ryan Barbur, Esq. (via email)                                     “   ‘

          Abby Simms, Esq. (via email)
          Dawn Goldstein, Esq. (via email)
          Nancy Plaff, Esq. (via email)
          Mark Eskenazi, Esq. (via email)
          Paul Thomas, Esq. (via email)
          Jennifer Abruzzo, Esq. (via email)




 51689/000140749167v1
